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 4           U.S. Department of Justice


                                               United States Attorney
                                               Diririct of\v Jersey


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                                          April 2,     2009


Via Electronic and Regular Mail
Hon. Peter G. Sheridan, U.S.D.J.
United States District Court
Clark S. Fisher Building and U.S. Courthouse
402 East State Street, Second Floor
Trenton, New Jersey 07102

         Re:      U.S. v. Dalnave Navigation Inc.            et al.
                  Crim. No. 09-130

Dear Judge Sheridan:

     The Government has learned that counsel for the defendants
in the above-referenced matter intends to file a motion to
dismiss the Indictment based on allegations that the Government’s
court-ordered Bill of Particulars is insufficient.

     Although the Government disputes counsel’s allegation and
asserts that its Bill of Particulars was more than sufficient and
in compliance with the Court’s order, if the Court were to rule
in favor of the defendants, the Government would be required to
file a new Bill of Particulars and to re-open any Rule 15
depositions that have been completed.

     We, therefore, ask that no individual material witness be
permitted to leave the jurisdiction until all Rule 15 depositions
are complete, which will not happen until after the Court rules
on defendants’ motion.  To the extent defendants’ motion forces
the depositions to go beyond the April 15, 2009, deadline set
forth in Judge Linares’s order, we request that the Court modify
the deadline in that order to allow completion of the
depositions.
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